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                                                      Page 1                                                                       Page 3      :
               UNITED STATE DISTRICT COURT                                               INDEX                                                 ;
              SOUTHERN DISTRICT OF FLORIDA

               CASE NO.: 1:23-CV-22276-BB                              WITNESS                                    PAGE
      PATRICK MULLER, an Individual, and                               Mouna Bouzid
      MOUNA BOUZID, an Individual,                                     Direct Examination by Mr. Adamsky                       5
           Plaintiffs,
      V.
      ITEB ZAIBET a/k/a "Swagg Man”, an Individual,
      LOLITA C. REBULARD, an Individual, LUXURY
      PROPERTIES, INC., a Delaware corporation,
      BEACH PROPERTIES RENTAL, INC., a
      Delaware corporation, LUXURY PROPERTIES TRUST                                     EXHIBIT
      u/a/d/ March 2, 2018, AAA PLUS
      FINANCIAL GROUP, INC., a Florida corporation,                    DEFENDANT'S            DESCRIPTION                           PAGE
      YVETTE TENORD, an Individual, JOHNNY                             1 *            Luxury Property document            44
      PREVILUS, an Individual, RES INVESTMENT
      INTER, INC., a Florida corporation, INFINITE
      RES INVESTMENT, LLC, a Nevada limited
      liability company, MIAMI REALTY, CORP., a
      Florida corporation, and GUZMAN305 TRUST, a
      Florida trust,
              Defendants.
       __ _____________ _ _______________ J
           DATE:  April 12, 2024
           TIME:  2:21 p.m. - 4:40 p.m.
           PLACE: Via remote video Zoom

           VIDEOCONFERENCE DEPOSITION OF MOUNA BOUZID


                    Kimberly Hacker
                United Reporting, Inc.                                         (Exhibit in possession of Counsel.)
                  Litigation Building
             633 South Andrews Avenue, Suite 202                       ‘(Exhibit has been previously marked In Patrick Muller's
              Fort Lauderdale, Florida 33301
                                                                       deposition taken on April 12, 2024.)
                     (954) 525-2221




                                                       Page 2                                                                      Page    4

      APPEARANCE FOR THE PLAINTIFFS:                                            COURT REPORTER: Are we all ready to go ahead?                      '
        TAYLOR, DAY, GRIMM & BOYD
                                                                   2      I'll go ahead and get our interpreter sworn In and
        50 North Laura Street, Suite 3500
        Jacksonville, Florida 32202                                3      then our witness.
        BY: JOHN D. OSGATHORPE, ESQUIRE                            4            Mr. Interpreter, do I have your consent to
                                                                          swear you In via remote video zoom this afternoon?
      APPEARANCE FOR THE DEFENDANTS:
        CONRAD & SCHERER, LLP                                      6           INTERPRETER: Yes.
        633 South Federal Highway, Suite 800                       7           COURT REPORTER: Very good.
        Fort Lauderdale, Florida 33301
                                                                   0            Sir, do you swear or affirm that the testimony
        BY: JASON R. ADAMSKY, ESQUIRE and
        STEVEN H. OSBER, ESQUI RE and                                        you're about to translate is a correct translation
        CLAYTON PENGEL/OBSERVING                                  10      from English to French and French to English?
                                                                  11           INTERPRETER: Yes.
      APPEARANCE FOR THE DEFENDANT/LUXURY PROPERTY TRUST:
        REINER & REINER, P.A.                                     12           COURT REPORTER: Madam, please raise your
        9100 South Dadeland Boulevard, Suite 901                  13     right hand.
        Miami, Florida 33156                                      14            Do 1 have your consent to swear you in via
        BY: DAVE P. REINER, ESQUIRE and
        ERIC REINER, OBSERVING
                                                                  15     remote video Zoom this afternoon?
      ALSO PRESENT:                                               16            WITNESS: Yes.
        SCOTT HOMLER, INTERPRETER                                 17            COURT REPORTER: Do you swear or affirm that
        Translation In Motion
                                                                  18         the testimony you're about to give this afternoon
                                                                  18         via remote video Zoom will be the truth, the whole
                                                                  20         truth, and nothing but the truth?
                                                                  21            WITNESS: 1 swear under the name of God that 1
                                                                             will provide testimony that Is the complete truth.
                                                                                COURT REPORTER: Thank you, And we're all set
                                                                  24         to go.
                                                                  25




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                                                                                                                           2    (Pages 5 to 8)
                                                                         Page 5                                                                     Page 7
           1                       DIRECT EXAMINATION                                 1          A. My name is Mouna Bouzid Muller. It is spelled
           2                                                                          2       M-O-U-N-A. My family name, B-O-U-Z-l-D and Muller,
                    BY MR. ADAMSKY:
            3                                                                         3
                       Q. Good afternoon, Ms. Muller.                                         M-U-L-L-E-R.
            4                                                                         4
                            Can you hear me okay?                                               Q. You currently live with your husband in
            5                                                                         5
                       A. Yes.                                                                Tunisia?
                       Q. Should 1 address you as Ms. Bouzid or                       6
            6                                                                                    A.      1 am Tunisian, yes.
           7                                                                          7
                    Ms. Muller?                                                                  Q. Are you from Tunisia originally?
            8                                                                         8
                       A. Ms. Muller.                                                            A. Yes.
            0                                                                         9
                       Q. 1 know you were present at the deposition of                           Q. Have you lived anywhere outside of Tunisia?
           10                                                                        10
                    your husband this morning, and 1 may go through a few of                     A.      1 was born in Tunisia. I've lived In Tunisia,
           11                                                                        11
                    the ground rules again, so I'll try to be as brief as                     and then after that 1 have spent time in both France and
           12       possible.                                                        12
                                                                                              Tunisia.
           13                                                                        13
                            Is there anyone else in that room with you                           Q. What is your date of birth?
           14                                                                        14
                    right now?                                                                   A. Okay, so 1 was born in 1973, August 4th. I'm
           15                                                                        15
                       A. Yes, Mr. Muller Is here, that's all.                                50 years old.
           16                                                                        16
                       Q. If 1 could have Mr. Muller please be on the                            Q. And 1 apologize, 1 forgot to ask Mr. Muller
   i11                                                                               17
                    camera during the deposition or leave the room, if you                    his date of birth during his deposition.
           18                                                                        18
                    prefer.                                                                         What is his date of birth?
           19                                                                        19
                            MR. ADAMSKY: I'm answering you that 1 am                              A. He was born on October 5,1955.
           20                                                                        20
                       here.                                                                     Q. Ms. Muller, are you currently employed?
           21                                                                        21
                       Q. Ms. Muller, have you ever given a deposition                            A. I am an associate with Mr. Muller in this
   1 22                                                                              22
                    before?                                                                   company.
           23                                                                         23
                       A.     It is the first time that 1 am in court.                           Q. You’re an employee of Nimetex?
           24          Q. I'm going to be asking questions, and then the              24
                                                                                                  A. Nimetex Group.
           25                                                                         25
                    interpreter is going to be giving a translation to you.                       Q. How long have you been with Nimetex Group?


                                                                            Page 6                                                                  Page 8
   I            1                                                                         1      A. I don't remember. 23 maybe -- or, excuse me,
                       A. Okay.
                2                                                                         2
                       Q. 1 understand you may know some English, but 1                       2003 maybe. So I guess it would be 20 years.
                                                                                          3
                3
                    would ask that you base your answers upon the                                Q. Okay. How long have you been married to
                                                                                          4
                4   translation given by the interpreter and not what you                     Mr. Muller?
                5                                                                         5
                    understand from me saying in English.                                        A. That's my private life. I can't answer those
       1        6
                        A. 1 didn't understand your question.                             0   sorts of questions. My husband and I have Iwo
                7                                                                         7
                              Does that mean I'm supposed to speak in                         daughters, I can tell you that.
                8                                                                         8      Q. I understand, ma’am. I'm not In any way
                    English or what?
                                                                                          9
                9
                       Q. When you listen to the question, listen to the                      asking these questions to embarrass you. These are just
                                                                                      10
            10
                    interpreter saying it in French rather than trying to                     standard questions that I have to ask for the case.
           11                                                                         11
                    understand me saying it in English.                                          A. I can tell you that I have a 14-year-old
            12                                                                        12
                        A. Okay.                                                              daughter and a twelve-year-old daughter.
            13                                                                        13
                        Q. If you need a question rephrased or repeated,                              MR. MULLER: Give him the date. Give him the
            14                                                                        14
                     please let me know. Otherwise, I'll assume you                              date.
            15                                                                        15
                     understood the question.                                                         MR. ADAMSKY: Hold on.
            16                                                                        16
                        A. Okay.                                                                      Mr. Muller, again, this Is only your wife's
            17                                                                        17
                        Q. Mr. Muller cannot assist you in any way in                            deposition. You had a chance to speak this
            18                                                                        18
                     this deposition, so please, please be mindful of that.                      morning. This is separate now. This is your
            19                                                                        19
                        A. Okay, no problem.                                                     wife's deposition, so you cannot give any input.
            20                                                                        20
                        Q. Aside from any conversations you may have had                         You cannot speak.
            21                                                                        21
                     with your attorney, did you do anything to prepare for                           MR. MULLER: I'm right here, so I am
            22                                                                        22
                     this deposition today?                                                      answering. I'm moving slightly to the side in
            23                                                                        23
                        A. No, 1 didn't prepare.                                                 order not to respond.
            24                                                                        24
                       Q. Ms. Muller, so that we have it for the record,                              MR. OSGATHORPE: Mr. Muller, again, it's just
            25
                     can you please state and spell your full name?                  1 25        going to make it quicker if you don't respond.




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                                                                                                        3 (Pages 9 to 12)
                                                              Page 9                                                             Page 11
              Ms. Muller is -- Jason is not intending to                         A. I paid the bail to get him out of prison.
          inquire into deep personal issues. And if he gets                      Q. Do you know why he was in prison?
          something completely off track, he and I will                          A. Yes.
          address that.                                                           Q. What was your understanding of why he was In
              But as to when you two were married, and,                       prison?
          again, if there's some reason that's particularly                       A. So do you want my opinion or do you want what
          sensitive to you, I'm sure Jason and I can work out                 the lawyers have said?
          where that will be stated off the record.                                 The reason he was in prison was for fraud and
              MR. MULLER: Okay.                                               for money laundering. But according to the attorneys,
              MR. ADAMSKY: I can assure you that I am not                     they said he was the victim, that he was innocent, and I
          trying to be here any longer than is necessary, and                 believed them.
          as long as we all follow the rules of this                             Q. So what was the reason you contributed money
          deposition, we'll get out of here as quickly as                     to get him out of prison?
          possible.                                                               A. So it is a long story. I don't want to go
       BY MR. ADAMSKY:                                                        into the details.
          Q. The question we left off at, Ms. Muller, was I                          INTERPRETER: Interpreter needs to clarify.
       just asked how long you had been married to your                           A. Okay. So it was to save his life. And ever
       husband?                                                               since then, I've had nothing but problems. But I don't
          A. So again, I repeat, this is a question about                     really want to go into any more details about that
       my private life that I don't want to answer. However,                  because it hurts too much. I don't want to see or know
       we were married on 29 December 2007. And I would ask                   anything from him anymore. It just hurts too much.
       you not to ask so many questions about my private -                        Q. What do you mean, it was to save his life?
       this is our private life.                                                  A. Well, somebody who's been convicted and sent
          Q. And I assure you I'm not here to pry into your                   to prison and who has all of these problems, and you pay
       private life. I'm asking background questions. And                     their bill to get them out, I mean, that's saving their


                                                             Page 10                                                              Page 12
       then I need to ask questions that involve this case. So                 life, isn't it?
       none of these questions are being asked to embarrass you                    Q. You did this as a favor for him?
       or to get personal Information.                                             A. No, no, not a favor.
              Ms. Miller, I'm going to refer to one of the                       Q. What was communicated to you about how he
       parties in this case as Iteb Zaibet, also known as                      ended up in prison that led you to want to bring him
       Swagg Man. So if I refer to one or the other                            out?
       interchangeably, that's who I'm referring to.                                Can you give more detail?
          A. So you mean Iteb, okay.                                                   INTERPRETER: Interpreter notes that it's hard
           Q. When did you first meet Iteb?                                        to hear her.
              INTERPRETER: Interpreter notes that                                  A. So at first, I didn't think that I would ever
           Ms. Muller is quite difficult to hear. I'm not                      be in a situation where I would want to help this
           sure what the issue is.                                             person.
           A. So the day that he got out from prison, the                         Q. Who told you that? How did you learn that
       next day he came to this factory here to meet with my                   Iteb was in prison?
       husband and I. That is the exact same answer that my                        A. On TV.
       husband gave earlier.                                                       Q. Did someone reach out to you personally?
           Q. Were you involved in helping Iteb get out of                         A. Yes. After that, his attorney contacted me,
       prison?                                                                 yes, because we have friends in common.
           A. Yes, I saved -- yes, I got him out of prison,                      Q. So Iteb's attorney reached out to you through
       yes.                                                                    mutual friends to ask for help getting him out of jail?
           Q. And how did you do that?                                             A. Okay, so - well, it wasn't exactly like that.
           A. Based on assistance from -- or advice from                       I mean, it wasn't like I was exactly getting him out of
        attorneys.                                                             prison directly. But his lawyer created this image of
           Q. Did you contribute money towards his bail?                       him as somebody who was innocent, an honest person,
               How did you help get him out of jail?                           somebody who was successful in life and who had a lot of



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                                                               Page 13                                                                Page 15
    1    advantages, somebody that was honest and who wanted to            1       A. Through a friend that we both had - a friend
    2    help Tunisia, particularly to help the poor.                      2    whose children were in the same school as mine in the
    3             And so I was very sensitive to that                      3    French school in Sousse.
    *    presentation of his story,                                        4       Q. Are you or your husband well known In Tunisia?
     5            INTERPRETER: Interpreter needs to ask for one            5       A. Yes, sir. Nimetex Group. So, yes, we're very
     6      clarification.                                                 6    well known. Our reputation is very well known in the
     7      A. So it was his first attorney, Mehdi Louzi, who              7    country of Tunisia. The name Muller is very well known.
     8   provided that information.                                        8    I want you to know who we are, who I am exactly.
     9            COURT REPORTER: Can I have the spelling,                  9          Can I explain that to you?
    10      please?                                                       10        Q. Yes, please.
    11      A.    First name, M-E-H-D-l. The last name,                    "        A. So I'll just talk about the pandemic period.
    12   L-O-U-Z-l.                                                        12   We are people who have a big heart. We are very humane,
    13            COURT REPORTER: Thank you.                               13   and we work with our hearts. We're very sensitive to
    14      Q. So how did he get connected to you?                         14   the problems of others, especially my husband.
    13            How did your name come up?                               15          And, again, particularly during the pandemic,
    15      A. Are you talking about Mehdi or are you talking              18   we bought so many ventilators. We spent so much money
    ”    about Iteb? I didn't quite understand.                            17    or gave so much money for health operations in Tunisia,
    13      Q. I am talking about how did Iteb get connected               11    to help Tunisia with respect to the pandemic. And we
    19   to you?                                                           15    bought so many ventilators. I've got the proof here. I
    20            How did your name come up for his lawyers to             20    can show you.
    21   reach out to you?                                                 21             Sol have a letter here thanking me. And this
    22      A.     So It was through his wife, Lorita, and they            22    Is a letter that comes from the government of Tunisia to
    23   asked me for help.                                                23    thank me for all of the work that we did with respect to
    24      Q.      I understand that, but how did they know to            24    schools and so on during the pandemic.
    25   ask you for help?                                                 25             I made 100,000 masks for Tunisia during the



                                                               Page 14                                                                Page 16
             A. What do you mean exactly? I didn't                               pandemic. We made 100,000 masks for distribution in
         understand. Mehdi Louzi didn't just ask me, Mehdi asked                 Tunisia. I hope you got the exact number, 100,000. And
         several people.                                                         that's to give you an idea of who it is that I am. And
             Q.     I'm sorry, what is that name you're saying?                  I've been like that my whole life.
             A.     Mehdi Louzi.                                                          So this is just to give you an idea of my
             Q. Who is Mehdi Louzi?                                              reputation and the degree to which I am a person
             A. The name of a Tunisian lawyer, his first                         motivated by human interests and helping those who are
          lawyer.                                                                in need. And never in my whole life did I ever think
             Q. Okay. How did Iteb's wife -- Iteb's wife is                      I'd end up in court, and it's a shame or a humiliation
          Lolita Rebulard?                                                       for me to be here.
             A.     Yes.                                                             Q. Aside from the mutual friend, do you think
             Q. Sometimes I guess I've heard of her referred                     part of the reason that iteb reached out to you is
          to as Lorita.                                                          because of your reputation?
             A.     Lolita, Lolita, is her name, not Lorita.                         A. Of course. So, I mean, I don't want to talk
             Q.     How did Lolita know you?                                     about myself too much, but I can tell you simply that I
             A. Through Mehdi, so it was through Mehdi Louzi                      am a woman who's worked hard. I started from nothing,
          that I was introduced to her. And this was during the                   and I'm not ashamed to say that. And I built my
          pandemic, the time with COVID. And he told me that she                 fortune. My husband and I built our fortune in a way
          was somebody who was suffering, that she was alone                      that was clean and in a way that was honest.
          because her husband was in prison, and she didn't have a                   Q. Aside from Iteb, have you or your husband ever
          job and she had nothing to eat, she was living with her                 helped anybody else get out of jail?
          parents and her husband was in prison. So it was to                        A.    No. And I would never do that again.
          help her to get a job.                                                     Q. Did you do any research or investigation as to
             Q.     How do you know Mehdi Louzi; is that a friend                 why Iteb was put in jail?
          of yours?                                                                  A. Well, I know all Tunisia. I know the image.




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                                                                     Page 17                                                              Page 19
          1                                                                        i
                 And 1 saw him on TV, and it's because there were a lot                    market.
         2                                                                         2
                 of political issues. If you want to come to Tunisia and                     Q. Did you eventually go into business with Iteb
          3                                                                        3
                 invest and you're young and you want to help, we have a                   on these clothing brands?
          4                                                                        4
                 lot of political problems. But 1 would say that he had                       A.     No, we never engaged in these projects. These
          5                                                                        5
                 a good image.                                                             were just discussions. These were just sort of ideas,
                                                                                   6
          0         Q. What I'm asking about specifically is aside                         dreams.
         7                                                                         7
                 from his image, did you inquire about the charges                            Q. For these clothing projects that you
          3                                                                        8
                 against him?                                                              discussed, did he ever ask for any money or any
   !      9                                                                        9
                    A. No, because his lawyer -- in fact, he had                           investment?
        10
                 three lawyers who all declared his innocence. So 1             . 10          A.     In textile you mean?
        11                                                                      I 11
                 didn’t investigate any further, no.                                          Q. Yes.
        12                                                                        12
                    Q. Was getting Iteb out of prison - did that                              A. So in terms of textiles, there were
       I 13                                                                       13
                 have anything to do with wanting to do business with                      discussions with Lolita about producing masks, as my
   1 14          him?                                                             14
                                                                                           husband testified earlier, and this was during the
        15                                                                        15
                    A. Well, the plans to begin doing business with                        pandemic, and we were making masks.
        In                                                                        16
                 him were, 1 guess, addressed initially while he was                               And so the attorney was asking me if 1 could
        17                                                                        17
                 still in prison, and they were discussed with his                         help find work for her because she was living in France
        13                                                                        18
                 attorney and with Lolita.                                                 with her family. And so the idea was for her to
        19                                                                        19
                    Q. So part of the reason you wanted to help him                        identify clients in France, and in exchange for that,
        20                                                                        20
                 out of prison is because you were interested in doing                     provide her with a percentage. And 1 have all of the
       I 21                                                                       21
                 business with him?                                                        proof of that.
        22                                                                        22
                    A. No. In fact, no.                                                       Q. Okay. So you mentioned that you never -
        23                                                                        23
                    Q. Did you make any arrangements to do business                        these discussions about textile projects never led to
        24
                 with him while he was still in prison?                           24       anything.
        25
                    A. So it wasn't directly with me. It was through            k             A. Yes, that's exactly right, nothing. So that


                                                                     Page 18                                                              Page 20
                                                                                       f
                  his attorney and Lolita, the attorney, who would go and                  was the first trap, yes.
          2                                                                       1 2
                  see him every week in jail and would talk about these                       Q. Okay. So what you're saying is that -- strike
           3                                                                           3
                  things. And the idea was that there were two brands -                    that.
           4                                                                           4
                          INTERPRETER: The interpreter is going to need                          Prior to this real estate investment issue in
           5                                                                           5
                     to clarify.                                                           Miami, did you or your husband ever enter into a
           6
                     A.   Two U.S. brands.                                             6   business arrangement with Iteb or his wife?
           7                                                                           7
                          INTERPRETER: So they're clothing brands, and                        A.     No, just words.
           8                                                                           8
                     the interpreter needs to clarify further.                                Q. Prior to the Miami real estate situation, did
           9                                                                           9
                     A.   So there were two brands that he wanted to                       Iteb Zaibet ever ask for money from you?
         1 f)'                                                                    10
                  produce in the U.S., but there was nobody there to do                       A.     Do you mean before the real estate deal?
         11                                                                       11
                  that. And he tried to do a pilot of these brands or a                       Q. Correct.
         12                                                                       12
                  test run of these brands, but they didn't work out well                      A. So I'm not sure how 1 can explain all of this
         13                                                                       13
                  in Tunisia.                                                              in detail or how to explain all of this.
         14                                                                       14
                    Q. Okay, so he knew you had a textile operation,                               You know, he's somebody who will project a
         15                                                                       15
                  and that's why he wanted to do business with you?                        false image of something and have you try to believe it.
         16                                                                       16
                     A.   Maybe. So, yeah, the truth is -- well, 1                            Q. 1 understand.
         17                                                                       17
                  learned the truth of his motivations later. But the                            The question was did he ever ask for money
         IB                                                                       18
                  idea was that he would plant this dream in my head                       prior to the Miami real estate deal?
         19                                                                        19
                  about - or that he had this dream of working -                               A. When he was in prison or after prison?
         23                                                                       20
                          Well, he planted this dream of working with                         Q. After prison.
         21                                                                       21
                  the U.S. market. 1 work with the French market on high                       A. Well, as my husband said earlier, he would
         22                                                                       22
                  end goods, and 1 don't want to list the names of the                     come and ask about things like investing in a luxury
         23
                  clients in France because they're high end.                      23      car, like a Ferrari or a luxury watch. But 1 said,
         24
                          But the attorney was explaining that there
                  were lots of opportunities to be pursued in the U.S.
                                                                                V4         well, these are things that 1 don't know anything about,
                                                                                           so it's not worth it to me.



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           Q. But these - to clarify, these were investment                        A.    Okay, so it's quite simple. As I mentioned, I
         opportunities, not him asking to borrow money                          have two daughters, and I always had this idea of
         personally?                                                            investing in real estate because, you know, ours is a
               A.I don't understand. So just, I want to                         private company, and real estate is a way to have
         explain to you, the attorney here. My husband called                   something stable, something reassuring. It's a way of
         these people fraudsters before, Lolita and Iteb, but I                 having stable revenue.
         think the real word is thieves, they're criminals.                             So my idea was to buy two apartments for two
                     I want you to understand that, Mr. Attorney                girls and to rent them out as a way of having regular
         Adamsky. I also want to let you know that while I've                   income in case something were to happen to us or if I
         known him, Iteb, I never called him Iteb. I called him                 were to pass away early, they would have that stable
         Ryan. I just want you to know that as well.                            revenue.
                     INTERPRETER: The interpreter needs to                              And then especially, I mean, I never thought
               clarify.                                                         that he would be such a bad person. And I always
               A.     Ryan Sanchez, so we called him Ryan Sanchez,              believe that if you do good, then good will come back to
         Ryan.                                                                  you, and if you do bad, then you'll be met with bad.
             Q. Did you know that this was not his real name?                   But I never imagined ever that doing good could result
               A.     After we did, yes,                                        in so much bad in this case.
            Q. So this whole time before the Miami deal, you                            So when Lolita was sick with Corona, I sent a
         thought his name was Ryan Sanchez?                                     doctor to her, I brought meals to her. I thought, well,
               A.     Well, the explanation that he gave to                     there's no way you can leave this poor woman alone, her
         everybody is that his mother was Brazilian and his                     husband is in prison. And there were so many people
         father was Tunisian, and he was ashamed of the name                    dying from Coronavirus. So I felt like I was helping
         Iteb, and that's why he changed it to Ryan. So that's                  save her life, and I did this for her.
    24
         the story that everybody knew.                                                 And when you do something like that for
    25
             Q. So you knew his name was Iteb, but Ryan was                     someone, it's just impossible that they could try to


                                                               Page 22                                                             Page 24
         the name - Ryan Sanchez was the name that he preferred?                hurt you like that. And I helped him get out of prison,
            A. Yes.                                                             so It was just unthinkable that they could do something
            Q. In these discussions where you were talking                      so despicable to us after all of the help that I
         about these business ventures, who was dealing with                    provided them.
         Iteb?                                                                     Q. Ms. Muller, I understand there's a lot that
                    Was that you or was that your husband?                      you have on your mind about this case, but I'm trying to
            A. Well, sometimes it was me, sometimes it was                      speed things along and get us out of here as quick as
         Patrick with Lolita, et cetera.                                        possible. So if you could just focus on the question
            Q. You were either dealing with -                                   I'm asking, and we'll go along, and at the end you can
            A. There is something important that I want to                      explain these thoughts.
         tell you, something very Important.                                       A. Okay.
                    So I just want to say that when you hear                       Q. Thank you.
         Lolita's voice on the telephone, she sounds so sweet,                          INTERPRETER: Interpreter notes. We've been
         she sounds so nice, she's so nice. You would have no                      going for nearly an hour and the interpreter needs
         doubt about how nice she Is. She's always saying please                   a break.
         and thank you, very polite. You'd have no doubt about                          MR. ADAMSKY: No problem. We'll take three
         who she is. But there's a whole different real image                      minutes.
         behind her.                                                                    INTERPRETER: Five?
            Q. So again, you were -                                                     MR. ADAMSKY: Sure.
                    It was both you and your husband dealing with                       (A brief recess was taken at 3:21 p.m.)
         Iteb and Lolita In talking about these business                                (The proceedings resumed at 3:28 p.m.)
         ventures?                                                              BY MR. ADAMSKY:
            A. Yes.                                                                Q. Madam court reporter, can you read off the
            Q. How did the topic of investment in Miami come                    last question, please?
         up?                                                                            (The requested portion was read.)



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                                                            Page 25                                                               Page 27
     1               MR. ADAMSKY: Can you read the one before it              how much you could in the United States. And in the
    2       that there's another question?                                    United States, it was just so much more.
    3                COURT REPORTER: Sure, no problem. Let me                        And the thing about Lolita is that she was
     4      just switch screens.                                              connecting me with Johnny. Johnny was helping her while
    5                (The requested portion was read.)                        Iteb was in prison. And so she showed me Johnny, who
     6   BY MR. ADAMSKY:                                                      was showing off his house in the United States. Here's
    7          Q. Ms. Muller, you mentioned that you had a                    my apartment, here’s the view.
     8   general goal of investing in real estate so that your                       And so it was really magnificent in the United
     9   daughter's future could be provided for.                             States. I don't know anything about the United States,
    10         A.     Yes.                                                    but she's showing me Johnny, who's showing off these
    11         Q. So was it you or your husband who first came                different properties. Here's his house in the United
    12   up with an idea to Iteb to invest in real estate?                    States, all of that.
    13         A.     Both of us.                                                Q. Johnny who?
    14         Q. And what did you say to Iteb or Lolita about                   A. Johnny the accountant from that agency, AAA or
    15   it?                                                                  whatever it is - Rebolous (phonetic)l don't remember
    16         A.     Well, I said it was my dream to do lots of              the name exactly -- the accountant.
    17   investment in real estate for rental and for regular                    Q. So Lolita was showing you that Johnny owned
    18   income. So that's what it was.                                       property in the United States and that he had a business
    19         Q. And what did Iteb or Lolita say in response to              there?
    20   that?                                                                   A. Well, that he was managing the properties that
    21         A.     So, you know, the strength of Iteb and Lolita           Lolita and Ryan owned In the United States. I mean,
    22   is to present this particular image of what they do.                 that they were involved together, and he was helping
    23   And they were saying that in the U.S., for people who                them a lot -- helping Lolita and Ryan in the United
    24   don't pay their taxes, their house or their apartment is             States with their properties that they had.
    25   seized and then it's sold off at half price. So that's                   Q. There is this stuff that Johnny is telling you


                                                             Page 26                                                              Page 28
         the first thing.                                                     or Lolita is telling you about Johnny?
                    So they were talking about lots of                            A. So it was Lolita explaining these things. I
         opportunities there in the US. How you could, for                    didn't know Johnny. I had never met him.
         example, buy an apartment for $500,000 and then turn                     Q. Did you ever talk to him?
         around and sell it for a million because the government          s
                                                                                  A. Well, one day when he showed me the house, I
         would take off such a percentage when they're reselling          5
                                                                              said hello, that's it. It was on a WhatsApp video.
         these properties.                                                7
                                                                                  Q. What was shown to you?
                    And then he would show me these sites and he          3
                                                                                  A. So it was that same day that we were in the
         would show me all of the things that they had done. He           3
                                                                              car, Lolita, Patrick and me were coming back from Tunis,
         showed me how they had bought and sold these different          10
                                                                              the 13th of January. It was the same person on the
         properties and how it was so astounding to see, see all         11
                                                                              phone.
         of that. And it was especially higher priced properties         12
                                                                                       He showed the photo on that WhatsApp telephone
         where you would earn the most money. So he would show           13
                                                                              call. And they were speaking English, then they were
         me these luxury apartments that would be resold for even        14
                                                                              speaking French and they were talking, just the two of
         more.                                                           13
                                                                              them together.
                                                                         IS
               Q. Before Iteb ■■ when I say Iteb, I'm referring                   Q. So this was after that whole transaction had
         to either Iteb or Lolita.                                       17
                                                                              been done?
                    Before he talked about these us properties,          IB
                                                                                       MR. MULLER: (Inaudible response.)
         did you or your husband mention to them a possibility of        19
                                                                                       INTERPRETER: The interpreter is confused.
         investing in France?                                            20
                                                                                  A. So I was made aware of Johnny through Lolita
            A. So, yeah, he showed me real estate In France,             21
                                                                              at first. Then Iteb got out of prison, and he was
         and we looked at the prices and compared those prices to        22
                                                                              talking about him as well.
         prices in the United States according to how much square        23
                                                                                       So then one day, it was in September, after he
         footage, footage there was, how much you could earn by          24
                                                                              got out of prison, he showed me on the phone, Johnny,
         buying and then renting out a property in France, versus        25
                                                                              and we were talking about real estate.



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                                                            Page 29                                                                     Page 31
      1          INTERPRETER: The interpreter needs to                      1          Q. Were his requests - did he keep coming back
      2       clarify.                                                     2        to you for more money? Or did you at any point say, 1
      3       A. So he was showing - Iteb was showing me the                3       want to contribute more to have a bigger piece of this
      4    house that Johnny was managing in the United States. He          4       investment?
      5    showed that to me on the telephone, the website on the           5             INTERPRETER: The interpreter does not
      6    telephone.                                                       6          understand the answer.
       7      Q. Okay, so Iteb showed you a house that he was               7          A. No, in terms of money, he was always
  ,    8   encouraging you to invest in?                                    '       discussing that with Patrick, not with me.
              A. So 1 just want to make sure you understand,                3          Q. So these instructions to give you on how and
      10   there was a video, but then there's also photos. So he          10       how much to invest, that was done through Patrick and
      11   was showing me photos on the phone.                             11       not you?
      12      Q. Okay, 1 understand that.                                  12          A. So, 1 mean, sometimes he would talk to both of
                  What did Iteb or Lolita tell you about what              13       us, sometimes he would just talk to Patrick.
      14   was required from you or your husband in order to               14             You know, you have to understand that he's
      15   participate in this investment?                                 15       somebody who doesn't say things just one time. He'll
      16      A. Well, it was their area of specialty. They                14       repeat it and repeat it and repeat it to try to convince
      17   had a real estate agency in the United States. And what         11       you. 1 mean, it's a habit with him. He works on your
      18   they did was to buy and resell luxury properties as a           13       mind, and he insists a lot.
      19   way to make money, but then they also mentioned that            19             And if he doesn't convince you one way, he'll
      28   because of all of the wonderful things you've done for          20       come up with another way to try to convince you and to
      21   us, this will be our way of repaying you. And through           21       get you to understand the way he’s trying to get you
      22   this investment, we'll be able to help you earn money           22       through his different explanations.
      23   through real estate in the United States better than in         23          Q. Who actually wired the money? Was that you or
      24   France.                                                         24       your husband?
      25      Q. So Iteb or Lolita said you need to give a                 25          A. It was Patrick at that time.


                                                               Page   30                                                                 Page   32

       1   certain amount of money to invest in this?                           1       Q. So did you see - did you receive or see any
       2      A. Yeah, something like that.                                 2       of the instructions as to how to wire the money or how
              Q. How much did he tell you you needed to invest?                 3   much?
       4      A. Exactly what my husband said.                                  4       A. No, 1 didn't do the transfers. Patrick was
       5      Q. Well, I'm asking you.                                          5   the one who did them.
       6      A. Well, you know, anything to do with money and                  4       Q. Were you or Patrick involved at all in
       7   how much, it’s Patrick who's the one in charge of                    7    handling any other part of this deal aside from
       ’   everything financial.                                                '    contributing money?
       9      Q. So do you know-do you personally know how                      9       A. 1 don't understand. What do you mean,
      '“   much you were asked to contribute toward this                   13       involved?
      11   investment?                                                     11           Q. Did you deal with any other part of this aside
      12      A. $1,500,000.                                               12       from sending money?
      13      Q. Was this done--was this proposed as one                    13          A. Sorry, 1 just don't understand.
      14   transaction? Or you said it was a one part deal?                 14             What do you mean?
      15      A. No, four. Four times.                                      13          Q. With Swagg Man - was Iteb and Lolita, were
      15      Q. Was it - did he present it as 1.5 million                  14       they handling this transaction? Or were you involved in
      17   broken up into four times? Or did he keep progressively          17       dealing with brokers or real estate agents?
      13   asking for more?                                                 13          A. It was Iteb and Lolita because it was their
      13      A. No, he was asking for a certain amount of                  19       company. They're the two or the associates of this
      23   money and then came back and asked for more and asked           23        company. So it was the two of them that did it.
      21   for more.                                                        21              Can 1 ask you a question, please?
               Q. Was it him asking for more money or were you              22          Q. If you need clarification, I’m happy to
      23   saying 1 want to contribute more, 1 want to have a                        clarify, but I'm not here to answer questions.
      24   bigger piece of this investment?                                 24         A. Yeah, it's to clarify something, in fact.
      ”,      A. I'm not sure 1 understood your question.                   25         Q. Okay, go ahead.



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    1       why you feel it is appropriate to be disrespectful       1       done is to kill us again and again and again. It's not
    2       during this proceeding.                                  2       just us, but it's our family and it's our children. And
     3           The next time that there is an interruption,        3       now the lawyer is yelling at us and harassing us,
     4      Mr. Muller, by you, this deposition Is over.             4       harassing my children. My children can't sleep at
     5         Jason has a job to do. He's just asking               5       night. So 1 just wanted to say thank you for all of
     6      questions. He wasn't involved in the transaction.        6       that
     7      He had nothing to do with your money. Weare               7          Q. I'll move to strike as nonresponsive. Ma'am,
     8      representing our clients to the best of our               8      I'm going to ask the question again.
            ability, which allows us to find out your                 9             Did you or your husband handle any part of
    10     positions.                                                10          this real estate transaction aside from sending
    11           Again, you sat through our client's                 11          money at Iteb's request?
    12      depositions despite the fact that both Mr. - both        12         A. My husband and 1 have experienced a great
    13      Johnny and Yvette were present in the deposition,        13      injustice, and we are waiting for somebody to show us a
    14      and they conducted themselves with the absolute          14      degree of humanity and justice.
    15      most respect for the proceedings. Do not test me         15         Q. Again, a move to strike as nonresponsive.
    16     on this.                                                  18            Ma'am, are you refusing to answer my question?
    17           Are you ready to proceed, Ms. Muller?               17         A. 1 answered the question. 1 didn't understand
    10     A.    May 1 ask -                                         18      or 1 didn't answer. 1 don't know. 1 answered
    19           MR. OSBER: If you anything other than yes or        19      everything.
    20     no, this deposition is over with.                         28          Q. Ma'am, the question is not relating to how you
    21     A.    Say yes or no to what?                              21      feel about this lawsuit.
    22           MR. OSBER: Whether she's ready to proceed?          22             The question Is In this transaction did you or
    23      A.    Yes, I'm ready to continue with the                23       your husband handle any part of this real estate deal
    24   deposition.                                                 24       aside from sending money?
    25           But can 1 talk to you, yes or no?                   25          A. My husband sent the money to buy an apartment,


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     1           MR. OSBER: No.                                       1       and they took our money. 1 answered the question. It's
     2           Jason, continue.                                     2       simple.
     3           MR. ADAMSKY: Madam Court reporter, can you           3          Q. Aside from sending the money, did you or your
     4      please read the last question?                            4       husband deal with real estate brokers? Did you ever
     5           COURT REPORTER: Let me switch screens, I'll          5       look at the property? Did you ever talk to the escrow
     6      be right back.                                            6       agency? Were you involved in any of that?
     7           (The requested portion was read.)                                  A. 1 didn't understand the question. 1 answered
     8           MR. ADAMSKY: Thank you.                                 '    that question, didn't 1?
     9   BY MR. ADAMSKY:                                                 5               We sent the money to make the purchase, and
    10      Q. Ms. Muller, is it fair to say that Iteb and           10       they took our money and that's It.
    11   Lolita handled the entire transaction aside from the        11             Q. Did you do anything beyond sending the money?
    12   money that you contributed?                                 12             A. What do you mean, anything? What do you mean?
    13      A.   We are talking about real estate, right?            13                  Can you give me some examples?
    14      Q. Yes, we're talking about this real estate             14          Q. I'll ask again as 1 asked in my previous
    15   transaction.                                                15       question.
    16           INTERPRETER: Interpreters to clarify.               16             Did you speak with any real estate agents?
    17      A.    So what 1 said was Iteb, Lolita, Johnny stole      17             A. No, 1 didn't speak to any real estate agents.
    18   our money. And I'd like to say that lawyers, based on       18             Q. Did you speak personally with an escrow agent?
    19   my understanding, are there to protect their clients.        19            A. No.
    20           And 1 know that you're trying to protect your       20             Q. Did you go and look at the property yourself?
    21   clients, but please, I'm begging you, don't protect         21             A.    On    theZillow, the Internet site.
    22   thieves and don't protect people who harm other people.     22          Q. You didn't go look at the property In person,
    23           Listen, if you think about somebody who's           23       correct?
    24   killed somebody, afterwards they're not bothered by the     24             A.    No,   wedidn'tgo to Miami, no.
    25   fact that they did that. But what these people have          2L            Q. You let Iteb and Lolita handle all of that,



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    1       correct?                                                        1        the relationship between this document and the question
    2          A. So they're not the only ones. And there are               2        that was asked of me?
    3       people who do this kind of transaction and who buy real         3           Q. I'm asking if you've ever seen this document
    4       estate remotely like that. 1 bought an apartment three          4        before?
    s       months ago in Paris in the same way.                            5           A. Yes, it's a document that was sent by Iteb to
    6          Q. Did you personally ever speak with anyone from            6        Patrick.
    ’       AAA?                                                            7           Q. This document was sent by Iteb to Patrick
     8         A. No.                                                        "       after you had already wired the approximately 1.5
               Q. Did you personally ever have any                           9       million to the United States?
    10      correspondence or conversations with Johnny Previlus?           10          A. Yes.
    “          A. No.                                                       11          Q. Did you or your husband take any action as per
    12         Q. Did you personally have any conversations or              12       any instructions given by this document?
    13      correspondence with Yvette Tenord?                              13          A. 1 don't understand.
    14         A. No.                                                       14             What are you asking me?
    15         Q. Did you personally have any correspondence or             15           Q. In other words, do you know the purpose of why
    15      communications or conversations with anyone from a              16       Iteb forwarded this document to you?
    17      company called Res Investments?                                 17              INTERPRETER: Interpreter didn't understand.
    13          A. 1 don't know Res Investments.                            18           A. So, yes, 1 understand why Iteb sent this
    13              Who is Res Investments?                                 19       document to my husband, but it's a falsified document.
    20          Q. Is your answer no?                                       29       It's not a correct document.
    21          A. No.                                                      21           Q. How do you know this was a falsified document?
    22          Q. Did you ever have any personal correspondence,           22          A. Well, I'm not there to show you what the
    23      conversations, or discussions with anybody from Infinite        23       errors are, but everybody knows them.
    24      Res?                                                            24          Q. Ma'am, are you saying that there are laws in
                A. 1 don't know.                                            25       the way or that appear in the face of this document that


                                                              Page 42                                                                   Page    44

     1              INTERPRETER: The interpreter needs to                        1    show that it's not authentic?
     2          clarify.                                                        2        A. So I'm not - 1 don't understand. So for you,
     3          A. 1 don't know the name that you gave me. 1                     3   the attorney, that is a correct document?
     4      don't know the name of that entity.                                  4       Q. Ma'am, is that a no? I'm not answering
                Q. So if you don't know the name of the entity,                  5   questions.
     6       it's fair to say that you don't remember or you didn't              6       A. There are things that 1 can't answer either.
     7       have any conversations with anybody from that entity?               7    Those will be up to the court to decide. I'm not going
     8         A.    What organization?                                          0    to weigh in on that.
        9           MR. ADAMSKY: Madam Court Reporter, can you                   9          MR. ADAMSKY: Madam Court Reporter, if we can
    10         please read back the question?                                10          mark that as Exhibit A to this deposition as well.
    11              (The requested portion was read.)                        11                 (The Luxury Property document was previously
    12         A.    1 answered, right?                                      12       marked as Defendant's Exhibit Number 1 for
    13         Q.    Is your answer no?                                      13       Identification.)
    14         A.    My answer was no.                                       14          Q. Ms. Muller, were you or your husband ever
    15         Q.    Did you ever receive any instructions or                15       involved in any sort of bitcoin investment with Iteb or
    16       requests to wire money from anybody aside from Iteb or          16       his wife?
    17      Lolita in connection with this Miami real estate                 17           A. No.
    18      transaction?                                                    18            Q. So no transactions involving bitcoin?
                                                                           L9             A. No.                                                     1
    15          A. No.
    20          Q. I'm going to put something on my screen here.             20                 What is the relationship between these real
    21      Ms. Muller, I'll represent to you that this has been             21       estate investments and your question about bitcoin?
    22      marked as Exhibit A or Exhibit 1 to your husband's               22             What's the relationship?
    23       deposition.                                                     23           Q. Again, I'm not answering those questions.
    24              Do you see what's shown on my screen?                    24                 Aside from this real estate transaction, have
    ”           A. Yes, I recognize this document, but what was              25       you or your husband ever been involved in other



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             investments in the United States?                                   1        things that you wish that I wouldn't ask about and I
    2                                                                            2        will represent to you that during this deposition that
               A. No.
     3                                                                           3        I've done everything in my power to be as respectful as
                Q. Have you ever been involved in any other
             lawsuit aside from this one?                                        4        possible and the least intrusive that I could make these
     5                                                                           5        questions.
                A. Are you talking about which one, Iteb, Lolita,
     6                                                                           6              Are you referring to anything in particular
             Johnny? I didn't understand.
     7                                                                           7        when you mentioned certain areas that you did not want
                Q. Other lawsuits?
     8                                                                            “       me to go into?
                A.     Me?
     9                                                                            5          A. Just about my private life -1 don't want to
                Q. Yes.
    10                                                                          10        necessarily have to address a lot of questions about
                A.     I think, Mr. Attorney, you have not been
    11                                                                           11       that because, as I said, I'm somebody with a good
             listening to the things that I've been saying ever since
    12                                                                           12       reputation, and I don't want anyone to attempt to
             the beginning.
    13                                                                           13       destroy it. And the issue is that Iteb continues to
                Q. I will move to strike that as nonresponsive.
    14                                                                           ”        tell lies about us.
                       Can you answer the question, ma'am?
    15                                                                           15              MR. ADAMSKY: I have no further questions. I
                A. So, yes, I can answer the question. The
    16                                                                           ls          thank you for your time.
             question is that I am somebody who is innocent and
             somebody who has nothing in her past. We are people who             17              WITNESS: Thank you very much.
    18                                                                           18              COURT REPORTER: Does anyone else have
             have a good reputation in France and in Tunisia. And
    19                                                                           19          questions?
             we're having to deal with this group of people who
    20                                                                           20              MR. OSBER: No, ma'am.
             represent some sort of organized gang who've already
    21                                                                           21               MR. OSGATHORPE: I have no questions. We will
             been imprisoned, who falsified papers, and there's no
    22                                                                           22          order, and we will read.
             way that you can compare us to them.
    23                                                                           23              (The proceedings concluded at 4:40 p.m.)
                       I'm 50 years old, and here I am in the courts
    24                                                                           24
             to seek the truth and defend myself. It is as if I'm
    25                                                                           25
             the guilty one. Nevertheless, I still trust the court


                                                                     Page 46                                                                    Page 48
         1                                                                                                CERTIFICATE OF OATH
             system.
    -2
                Q. Again, I'll move to strike as not responsive.
         3
                       Ma'am, do you understand that I'm also asking                       STATE OF FLORIDA,
         4
             if you have ever sued anybody?                                                COUNTY OF BROWARD
         5                                                                                    I, Kimberly Hacker, Notary Public, State of
                A. Do you mean in the U.S. and France, Tunisia?
                                                                                           Florida, certify that Mouna Bouzid personally appeared
                Q. Anywhere.
         7
                                                                                            before me via remote video Zoom on the 12th of
                A. It's the first time in my life that I am in
                                                                                           April, 2024, and was duly sworn by me.
             court as a litigant against somebody like Iteb and                                Signed this 12th day of April, 2024.
         9
             Lolita.
    10
                Q. I need to take two minutes. I'm almost done.
                                                                                                                               AC
    11
             I just need to look through my notes.
    12
                       MR. OSBER: Why don't we take five?                                              Notary Public, State of Florida
    13                                                                                                  My Commission No. HH 313518
                       (A brief recess was taken at 4:29 p.m.)
    14
                       (The proceedings resumed at 4:35 p.m.)                                          Expires: September 24, 2026
    15                                                                            14
             BY MR. ADAMSKY:
                                                                                  15
    ■n           Q. Ms. Muller, I only have two more questions for
                                                                                  16
    17
             you. And, again, I want to be very clear that these are
                                                                                  17
     18
             questions that I ask literally everybody, no matter who                 18
    19
             they are or what the lawsuit is about.                                  19
    20
                       Have you ever been convicted of a crime?                   20
    21
                       Can you hear me? Do you have your audio on?                   21
    22
                 A. Yes, I answered.                                                 22
    23                                                                               23
                 Q. I didn't hear.
                                                                                     24
                 A. I said no. I am a clean and honest woman.
    25
                 Q. You mentioned before that there were certain



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